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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



 Luminati Networks Ltd.,

              Plaintiff,                               Civil Action No.
                                                     2: 19-cv-00395-JRG
              V.


 Teso LT, UAB, Oxysales, UAB, and                   FILED UNDER SEAL
 Metacluster LT, UAB,

              Defendants.




                           OXYLABS' MOTION TO STRIKE
                    EXPERT OPINIONS OF STEPHEN L. BECKER, PH.D.




                                      SIEBMAN, FORREST,
                                      BURG & SMITH LLP

                                      M ICHAEL C. S MITH


                                      CHARBON CALLAHAN
                                      ROBSON & GARZA, PLLC

                                      STEVEN CALLAHAN
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                                      G EORGE T. " JORDE" SCOTT
                                      M ITCHELL S IBLEY



                                      Counsel f or Teso L T, UAB, Oxysales, UAB,
                                      and Metacluster LT, UAB
 Januaiy 25, 2021
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           Defendants Teso LT, UAB, Oxysales, UAB, and Metacluster LT, UAB (collectively,

 “Oxylabs”) file this Motion to Strike Expert Opinions of Stephen L. Becker, Ph.D.:

 I.        INTRODUCTION

           Dr. Becker’s lost-profits opinion is that Luminati would have captured all of Oxylabs’

 accused traffic

                           . The opinion is unreliable as it (i) is contradicted by the evidence in this

 case demonstrating that several acceptable non-infringing alternatives exist and (ii) violates the

 law of demand that holds that, when prices increase, demand decreases.

           Dr. Becker’s reasonable-royalty opinion—



                      —is similarly unreliable. The opinion (i) violates the Federal Circuit’s appor-

 tionment requirement by, e.g., failing to properly account for the actual incremental value alleg-

 edly attributable to the asserted patents, (ii) is premised on the wrong parties being at the hypo-

 thetical negotiation, and (iii) impermissibly concludes that Oxylabs would have agreed to pay a

 royalty




 -     . The Court should not permit “expert” testimony that contradicts the facts of the case,

 economic reality, and Federal Circuit precedent.

 II.       FACTS

           1.      Luminati’s damages expert, Stephen Becker, Ph.D., proffered (i) a lost-profits

 damages opinion and (ii) a reasonable-royalty damages opinion.

           2.      Dr. Becker opines that Oxylabs owes Luminati damages




                                                    1
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                                                                             . Ex. 19-A at 34.

        A.     Lost Profit Facts

        3.




        4.




        5.     Dr. Becker did not speak with any Oxylabs customers, nor were any Oxylabs cus-

 tomers deposed in this case. Ex. 3 at 12:2-4. Dr. Becker also did not conduct any surveys-of

 Oxylabs' customers, competitors, or oth e1wise-to support his opinions. Id. at 12: 17-19. Dr.




    2
        Dr. Becker did not use a "market share" (Mor-Flo) approach to determine lost profits. Ex.
 1 at~ 68; Ex. 3 at 76:2-9.


                                                2
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 Becker fmther did not analyze the prices charged by the third-paity competitors in the mai·ket-

 place. Ex. 3 at 99:23-1 00:13.

        6.      The evidentia1y record is replete with examples of customers in the mai·ketplace

 caring about price. For example:

        •




        •




        •




                                                3
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         •      Dr. Becker does not disagree with Frost & Sullivan 's conclusion that customers in
                th e IP Proxy network space are an 8/ 10 when it comes to price sensitivity. Ex. 4 at
                176:20-177:5; Ex. 15 at 6.
         •      Dr. Becker acknowledges that, all things being equal, Oxylabs' an d Luminati' s
                customers would prefer paying less for residential IP products. Ex. 3 at 76: 16-
                77:10, 78:2-1 8.

        7.      Dr. Becker applied the Panduit factors to reach his lost-profits opinion, Ex. 1 at ,i,i

 45-47, 53, 79, 89, 100, which require the patent holder to prove, among other things, that no ac-

 ceptable non-infringing alternatives exist. Id. at 45.

         8.     There are numerous competitors in the IP proxy marketplace. Dr. Becker relies on

 a Frost & Sullivan repoit                                             that indicates that there are at

 least 21 competitors in th e IP proxy marketplace. Ex. 1 at ,i 69; Ex. 15 at 48-49, 74.

        9.




         10.    Dr. Becker dismissed NetNut- an other major competitor identified in th e Frost &

 Sullivan Repo1t-as an acceptable substitute for any of the accused traffic because it also was




                                                   4
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 accused of infringement by Luminati, an d because Dr. Becker believed that NetNut was offering

 only a "static" residential product. Ex. 1 at~ 71; Ex. 3 at 85:7-86:3. But the complaint that Dr.

 Becker relies on does not allege infringement of any of the asse1ted patents in this case, nor does

 it accuse NetNut's residential proxy product of infringement (instead focusing on NetNut's "stat-

 ic" residential proxies). 5 Ex. 16. Indeed, Dr. Becker limited his an alysis of whether NetNut is or

 is not an acceptable alternative to just NetNut's "static" residential product. Ex. 3 at 86:23-87:2.




        11.     Dr. Becker 's dismissal of the majority of the proxy market paiticipants in the

 Frost & Sullivan Report is based on the relatively smaller size of th ose companies' networks. Ex.

 1 at ~ 69. But Dr. Becker admits that he did not research the minimum number of nodes within a

 residential proxy network that Oxylabs ' customers would find acceptable, nor does he know how

 many nodes individual Oxylabs customers use on any given day. Ex. 3 at 39:24-40:13 , 73:6-10.

 When asked about the impo1tan ce of network size to the customer, Dr. Becker testified that he

 believed size to be an impo1tant competitive dynamic, but also admitted that "I haven 't spoken to

 an individual customer, so I can 't say for sure that eve1y customer, you know, cares about the

 size of the network." Ex. 3 at 38:11-39: 1.




    5
         Dr. Rhyne did not opine that "static" residential proxies infringe the asse1ted patents. Ex.
 17 at 178:24-1 81:8. And Dr. Becker admits th at "static" residential proxies are not accused in
 this case. Ex. 3 at 34:23-35: 14.




                                                  5
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         12.    Oxylabs identified Jorry-one competitors in the residential proxy marketplace. Ex.

 19-A at 67. Dr. Becker admitted that he did not consider-at all-many of the identified residen-

 tial proxy competitors in his lost-profits analysis, including Shifter, Soax, and Xvennn. Ex. 3 at

 79:1-80:20. Dr. Ugone (Oxylabs' damages expe1i), on the other hand, identified each of Shifter,

 Soax, and Xvernm as being residential proxy providers with comparable pricing, millions of

 available residential peers, and as covering similar use cases compared to Oxylabs and Luminati.

 Ex. 19-A at 67; Ex. 19-B at Exhibit 8.

         13.     Dr. Rhyne did not opine that any third-paiiy competitor infringes the asse1ied pa-

 tents, including but not limited to BI Science (Geosurf) and NetNut. Ex. 17 at 173:19-1 74:3.

         14.
                                 7
                             .       But Dr. Becker did not consider whether any of Oxylabs' customers

 were afready Luminati customers,



         15.     Dr. Becker admits that at least the following products in the marketplace ai·e non-

 infringing and/or non-accused alternatives: (i) data center proxies, (ii) "static" residential IPs,

 and (iii) sending residential proxy traffic through non-U.S . exit nodes. Ex. 1 at ,r,r 56, 66; Ex. 3 at

 33:12-18, 34:23-35:14, 92:6-11.




                                                       6
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        16.     The evidence shows that data center proxies (an admitted non-infringing alterna-

 tive) represent an acceptable non-infringing alternative. For example:

        •




        •




        •       Luminati's website recommends to its customers, as a "bottom line," that they
                "[t]1y using data center IPs first and the more expensive alternative of residential
                IPs as a fallback option, that way you can reduce the costs of your operation and
                still get great success rate." Ex. 25 .
        •


        •
        17.     Dr. Becker agrees that some proxy customers use both data center and residential

 proxy products, some switch back and fo1th between the two products, and some find data center

 proxies to be perfectly capable of satisfying their data collection needs. Ex. 3 at 63:16-64:5. Yet

 Dr. Becker failed to analyze what percentage of Oxylabs' residential proxy customers have (or




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 could have, in the lost-profits world) shifted some or all of their residential proxy traffic to data

 center proxies. Ex. 3 at 64:6-1 0.

         18.    Despite all of the foregoing, it is Dr. Becker's lost-profits opinion that not a single

 one of Oxylabs' customers would have shifted any of the accused traffic-not a single giga-

 byte-to any of the available alternatives. Ex. 3 at 87:5-1 6. For Dr. Becker 's lost-profits opinion

 to be conect, none of the Oxylabs customers-at-issue would have:

         •       Shifted any accused trnffic to a third-paiiy residential proxy competitor, Ex. 3 at
                 89:4-1 7;
         •      Split any accused traffic between Luminati and another residential competitor, Ex.
                4 at 70:7-1 5, Ex. 3 at 87:5-1 6;
         •      Shifted any accused ti·affic to a data center product (whether to Oxylabs' data cen-
                ter proxy product or anyone else's), Ex. 3 at 89:18-90:4;
         •      Shifted any accused ti·affic to a "static" residential proxy product,9 Ex. 3 at 89: 18-
                90:7;
         •       Shifted any accused ti·affic to an in-house solution, 10 Ex. 3 at 90: 13-17;
         •       Shifted any accused ti·affic to non-U.S . residential proxy nodes, 11 Ex. 3 at 92:2-
                 11 ;



         Dr. Becker ti·eats "static" residential IPs similai·l




                                                    8
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         •

         •      Decided not to use Luminati at all, 12 Ex. 3 at 90: 19-24, 100:14-101 :15.

         B.     Reasonable Royalty Facts

         19.




 ■ Ex. 2 at SLB- lC.

                          Ex. 2 at SLB-6.

         20.




                              Ex. 1 at ,I 184; Ex. 2 at SLB-4A, SLB-4B.



 - -i.e., Dr. Becker does not conduct any appo1iionment an alysis to determine what features

 of Luminati's residential proxy product are not tied to the asse1ied patents and what the value of

    11
        The evidence indicates that at least a portion of th e accused traffic need not have utilized
 a US residential proxy exit node. Ex. 19-A at 59.




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 such features are. Ex. 3 at 107:7-108:2. Nor does Dr. Becker ever attempt to perform an appor-

 tionment analysis of Oxylabs’ accused products (e.g., to determine what features of Oxylabs’

 products are unrelated to the asserted patents). Id. at 106:2-7, 107:7-108:2.

        21.




                                                             Ex. 1 at ¶ 186; Ex. 3 at 116:6-19.
                                                                                                  ■
                                                                    .

 III.   DAUBERT STANDARD

        Expert testimony is permissible only when it helps the trier of fact, is based on sufficient

 facts or data, and is the product of reliable principles and methods. Fed. R. Evid. 702. Courts act

 as “gatekeepers” to ensure that expert testimony is “not only relevant, but reliable.” Daubert v.

 Merrel Dow Pharm., Inc., 509 U.S. 579, 589 (1993). “[O]ne major determinant of whether an

 expert should be excluded under Daubert is whether he has justified the application of a general

 theory to the facts of the case.” Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1316 (Fed.

 Cir. 2011).

 IV.    THE COURT SHOULD STRIKE DR. BECKER’S LOST-PROFITS OPINION

        A.      Lost Profits Standard

        To recover lost profits, Luminati must prove that, “but for” the alleged infringement,

 Luminati would have made Oxylabs’ accused sales. Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538,
                                                  10
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 1545 (Fed. Cir. 1995) (en banc). The but-for analysis “requires a reconstruction of the market, as

 it would have developed absent the infringing product[.]” Grain Processing Corp. v. Am. Maize-

 Prods. Co., 185 F.3d 1341, 1350 (Fed. Cir. 1999). “To prevent the hypothetical from lapsing into

 purse speculation,” Luminati must provide “sound economic proof of the nature of the market

 and likely outcomes with infringement factored out of the economic picture.” Id.

         The four-factor Panduit test establishes causation for lost-profit claims. Versata Software,

 Inc. v. SAP Am., Inc., 717 F.3d 1255, 1264 (Fed. Cir. 2013). Panduit requires the patentee to

 show: (i) demand for the patented product; (ii) absence of acceptable non-infringing substitutes;

 (iii) capability to exploit the demand; and (iv) the amount of the lost profit. Rite-Hite, 56 F.3d at

 1545. The second Panduit factor “often proves the most difficult obstacle for patent holders.”

 Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1286 (Fed. Cir. 2017). “Under this

 factor, if there is a noninfringing alternative which any given purchaser would have found ac-

 ceptable and bought, then the patentee cannot obtain lost profits for that particular sale.” Id. Pa-

 tentees also regularly fail to account for foreseeable, “alternative actions” that a purported in-

 fringer would take to avoid “surrender[ing] its complete market share[.]” Grain Processing, 185

 F.3d at 1350-51.13

         Price erosion is a species of lost profits. See Crystal Semiconductor Corp. v. TriTech Mi-

 croelectronics Int’l, Inc., 246 F.3d 1336, 1357 (Fed. Cir. 2001). Luminati must show that, “but

 for” the infringement, it would have sold its product at higher prices. Id. at 1357. To meet its

 burden, Luminati cannot simply speculate that it would have charged Oxylabs’ customers more



    13
        A “rational would-be infringer is likely to offer an acceptable noninfringing alternative, if
 available . . . rather than leave the market altogether.” Grain Processing, 185 F.3d at 1350-51.
 As a result, to accurately reconstruct the market, patentees must “account [for] any alternatives
 available to the infringer.” Id.


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 absent the alleged infringement. Instead, as with lost profits, Luminati must reconstruct the mar-

 ket, and (at a minimum) show how Oxylabs’ customers would have reacted to Luminati’s higher

 prices. Id. For example, a “credible” economic analysis “cannot show entitlement to a higher

 price divorced from the effect of that higher price on demand.” Id. “In other words, the patentee

 must also present evidence of the (presumably reduced) amount of product the patentee would

 have sold at the higher price. Thus . . . the patentee’s price erosion theory must account for the

 nature, or definition, of the market, similarities between any benchmark market and the market in

 which price erosion is alleged, and the effect of the hypothetically increased price on the likely

 number of sales at that price in that market.” Id. Luminati’s analysis must also account for how

 non-infringing alternatives would limit Luminati’s ability to raise prices. SynQor, Inc. v. Artesyn

 Techs., Inc., 709 F.3d 1365, 1381 (Fed. Cir. 2013).

        B.      Dr. Becker’s Lost-Profits Opinion Is Unreliable And The Court Should
                Strike It

                1.      Dr. Becker’s “No” Acceptable Non-Infringing Alternatives Opinion Is
                        Unreliable

        Dr. Becker’s opinion that there are “no” acceptable non-infringing alternatives is unrelia-

 ble and thus inadmissible under Daubert. As shown herein, at least five categories of acceptable

 non-infringing alternatives exist. Any one of such alternatives alone, for any portion of the ac-

 cused traffic, is enough to render Dr. Becker’s lost-profits opinion unreliable.

        First, numerous third parties compete with Oxylabs and Luminati in the residential proxy

 marketplace. Fact Nos. 8-14, above. Dr. Becker, a damages expert, is not competent to opine on

 whether any third party infringes, and Dr. Rhyne (Luminati’s technical expert) does not opine as

 to any third-party infringement. Fact No. 13. Accordingly, the Court should conclude that Dr.

 Becker’s opinion as to any purported infringers in the marketplace—including BI Science (Ge-

 oSurf) and NetNut—is not reliable and strike it.

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        The Court should also strike Dr. Becker’s opinion that not a single GB of accused traffic

 would have been serviced by any of the dozens of other competitors in the residential proxy

 marketplace as it is unreliable. The only purported basis for Dr. Becker’s opinion that several of

 the other market participants would not have captured any amount of the accused traffic is that

 they allegedly have “smaller” residential networks. Fact No. 11. But Dr. Becker admitted that he

 did not research the minimum number of nodes within a residential proxy network that Oxylabs’

 customers would find acceptable, nor does the know how many nodes individual Oxylabs cus-

 tomers use. Id. Thus, Dr. Becker has no basis to conclude that third-party competitor networks

 would not capture any amount of the accused traffic. Worse, Dr. Becker admits that he did not

 even consider multiple third-party residential proxy providers in his analysis, further demonstrat-

 ing the unreliable nature of his analysis. Fact No. 12.

        Second, Dr. Becker’s opinion is unreliable because data center proxies constitute an ac-

 ceptable non-infringing alternative. Fact Nos. 15-17. Numerous competitors in the marketplace,

 including Luminati and Oxylabs, offer data center proxies,

                                                                            . Id.

                                                                             Yet Dr. Becker opines

 that not a single Oxylabs customer would have used a data center proxy for any amount of ac-

 cused traffic—                                                                     .

        Third, “static” residential proxies constitute an admitted non-infringing alternative, and

 the evidence demonstrates that it is an acceptable alternative. Fact Nos. 15, 18. This alternative

 renders Dr. Becker’s opinion that there are “no” non-infringing alternatives—such that Luminati

 would purportedly capture all of Oxylabs’ accused traffic—unreliable.




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         Fourth, Dr. Becker fails to consider that Oxylabs could have sent at least a portion of the

 accused traffic through non-U.S. exit nodes. Fact Nos. 15, 18. Instead, he simply assumes that all

 of the accused traffic would have gone to Luminati

 rather than simply being re-directed to a non-US node. Id.

         Fifth, in-house solutions constitute a non-infringing alternative that Dr. Becker does not

 even address in his report,

                                      . Fact No. 18. Dr. Becker’s opinion that not a single GB of

 accused traffic would have been switched to an in-house solution—especially in the face of Lu-

 minati’s substantially higher prices—is thus unreliable.

         In sum, where acceptable non-infringing alternatives exist, as is the case here (for any or

 all of the reasons discussed above), the Court should not allow Dr. Becker to opine that Luminati

 would have captured all of Oxylabs’ accused sales.14

                2.      Dr. Becker’s Opinion Contradicts The Law of Demand And Is Thus Unre-
                        liable

                 All markets must respect the law of demand. According to the law of de-
         mand, consumers will almost always purchase fewer units of a product at a higher
         price than at a lower price, possibly substituting other products. . . .
                Thus, in a competitive market, sales quantity reacts to price changes. The
         record shows that the PC CODEC market was competitive. Therefore, according


    14
         See, e.g., Grain Processing, 185 F.3d at 1352 (“market sales of an acceptable noninfring-
 ing substitute often suffice alone to defeat a case for lost profits”) (citing cases); BIC Leisure
 Products, Inc. v. Windsurfing Int’l, Inc., 1 F.3d 1214, 1218-19 (Fed. Cir. 1993) (rejecting lost-
 profits claim where “at least fourteen competitors vied for sales in the sailboard market” at vary-
 ing prices); Fuji Photo Film Co. v. Jazz Photo Corp., 249 F. Supp. 2d 434, 454 (D.N.J. 2003)
 (“As an initial matter, the presumption that all of the infringer’s sales would have accrued to the
 patentee absent the infringement is unreasonable in the multi-competitor landscape, where pre-
 sumably some portion of the infringer’s sales would have accrued to competitors other than the
 patent holder itself.”); Mentor Graphics, 851 F.3d at 1288-89 (non-infringing alternatives that
 “could have been made available” preclude lost profits on such sales and a patentee “cannot ob-
 tain lost profits unless it and only it could have made the sale”).


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         to basic tenets of economics, because C1ystal is in a competitive market, if C1ystal
         raised prices, Crystal's sales would have fallen .
                 - Crystal Semiconductor Corp. v. TriTech Microelectronics Int '!, Inc. ,
                 246 F.3d 1336, 1359 (Fed. Cir. 2001) (emphasis added).

         The unreliableness of Dr. Becker 's lost-profits opinion is conclusively demonstrated by

 the fact that he opines that not only would Luminati have captured all of Oxylabs ' accused traf-

                                                        The IP proxy network (including residential

 proxy market) is highly competitive, and it is undisputed that customers in the market care about

 price. Fact Nos. 4-6, 8-12. "Economists can define hypothetical markets, derive a demand curve,

 and make price erosion approximations without relying on inapposite benchmarks." C1ystal Sem-

 iconductor, 246 F.3d at 1359.

         Yet Dr. Becker simply assumed that Luminati would have captured all of Oxylabs' ac-

 cused traffic                                                         This he cannot do, as nothing

 in economics generally nor this case in particular suppo1is such an opinion.15 See, e.g., C1ystal

 Semiconductor, 246 F.3d at 1360 ("C1ystal did not present any evidence of how a hypothetical

 increase in price would have affected C1ystal 's profits due to lost sales. Lost sales and price ero-

 sion damages are inextricably linked. To prevent inconsistent results, this comi will not venture

 to evaluate price erosion and lost profits damages separately."); BIC Leisure, 1 F.3d at 1218 ("By

 pm-chasing BIC sailboards, BIC's customers demonstrated a preference for sailboards priced

 around $350, rather than One-Design boards priced around $600. Therefore, without BIC in the

    15
         "Trial comis are to consider the extent to which a given technique can be tested, whether
 the technique is subject to peer review and publication, any known potential rate of en or, the ex-
 istence and maintenance of standards governing operation of the technique, and, finally, whether
 the method has been generally accepted in the relevant scientific communi ." Hathaway v. Ba-
 zany, 507 F .3d 312, 318 5th Cir. 2007

                                                   without Luminati losing a single sale or the cus-



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 market, BIC’s customers would have likely sought boards in the same price range.”).

            Because Dr. Becker’s ipse dixit opinion is the sole piece of purported evidence that Lu-

 minati would have captured all of Oxylabs’ accused traffic



 -
 V.
           the Court should preclude presentation of that opinion to the jury.16

            THE COURT SHOULD STRIKE DR. BECKER’S REASONABLE-ROYALTY
            OPINION

            A.     Reasonable Royalty Standard

            “Upon finding for the claimant the court shall award the claimant damages adequate to

 compensate for the infringement, but in no event less than a reasonable royalty for the use made

 of the invention by the infringer.” 35 U.S.C. § 284. In calculating a reasonable royalty, “a patent-

 ee must take care to seek only those damages attributable to the infringing features.” VirnetX,

 Inc. v. Cisco Systems, Inc., 767 F.3d 1308, 1326 (Fed. Cir. 2014). In other words, “[t]o be admis-

 sible, expert testimony opining on a reasonable royalty rate must ‘carefully tie proof of damages

 to the claimed inventions footprint in the market place.’” Uniloc, 632 F.3d at 1317. This derives

 from Supreme Court precedent requiring that “the patentee . . . must in every case give evidence

 tending to separate or apportion the defendant’s profits and the patentee’s damages between the

 patented feature and the unpatented features, and such evidence must be reliable and tangible,

 and not conjectural or speculative.” Garretson v. Clark, 111 U.S. 120, 121 (1884). Consequently,

 to be admissible, all expert damages opinions must separate (i.e., apportion) the value of the al-


      16
         See, e.g., Hathaway, 507 F.3d at 318 (“[T]he existence of sufficient facts and a reliable
 methodology is in all instances mandatory. [W]ithout more than credentials and a subjective
 opinion, an expert’s testimony that ‘it is so; is not admissible.”) (citation and quotations omitted);
 Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (“[N]othing in either Daubert or the Federal
 Rules of Evidence requires a district court to admit opinion evidence that is connected to existing
 data only by the ipse dixit of the expert. A court may conclude that there is simply too great an
 analytical gap between the data and the opinion proffered.”).


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 legedly infringing features from the value of all other features. VirnetX, Inc. v. Cisco Sys., Inc.,

 767 F.3d 1308, 1329 (Fed. Cir. 2014).

         B.     Dr. Becker’s Reasonable-Royalty Opinion Is Unreliable And The Court
                Should Strike It

                1.      Dr. Becker’s Royalty Does Not Reflect The Patents’ Incremental Value
                        To The Accused Products And Thus Fails To Comply With The
                        Apportionment Requirement

         Dr. Becker’s reasonable-royalty opinion is unreliable because he does not conduct a

 proper apportionment analysis.17 First, his entire analysis is premised on the asserted patents’

 alleged contribution to Luminati’s allegedly embodying products—not the asserted patents’ con-

 tribution to Oxylabs’ accused products or profits. Fact No. 20. This is improper. See, e.g., Erics-

 son, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014) (“When the accused infring-

 ing products have both patented and unpatented features, measuring this value requires a deter-

 mination of the value added by such features. . . . [A] jury must ultimately apportion the defend-

 ant’s profits and the patentee’s damages between the patented feature and the unpatented fea-

 tures using reliable and tangible evidence.”) (emphases added) (quotation omitted).18 Because

 Dr. Becker conducted no apportionment analysis of the alleged value added by the asserted pa-

 tents to Oxylabs’ accused products, his reasonable-royalty opinion is unreliable.

         Second, even his purported “apportionment” analysis of Luminati’s allegedly embodying

 product is fundamentally flawed, as Dr. Becker simply assumes that the entire difference in “val-

    17
         Dr. Becker does not opine that the “entire market value rule” is satisfied in this case.
    18
         See also Exmark Mfg. Co. v. Briggs & Stratton Power Products Group, LLC, 879 F.3d
 1332, 1348 (Fed. Cir. 2018) (“Exmark adequately and reliably apportions between the improved
 and conventional features of the accused mower[.]”) (emphasis added); Virnetx, Inc. v. Cisco
 Sys., Inc., 767 F.3d 1308, 1329 (Fed. Cir. 2014) (“In calculating the royalty base, Weinstein did
 not even try to link demand for the accused device to the patented feature, and failed to apportion
 value between the patented features and the vast number of non-patented features contained in
 the accused products.”) (emphasis added).


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 ue” between Luminati’s residential proxy product and data center proxy product is attributable to

 the asserted patents. In other words, Dr. Becker conducts no apportionment analysis of the fea-

 tures of Luminati’s residential proxy product that are unrelated to the asserted patents. This ren-

 ders his opinions unreliable, as there are many features of residential proxies (including when

 compared to data center proxies) that do not relate to, and are not enabled by, the asserted pa-

 tents. For example, Dr. Ugone, Oxylabs’ damages expert, identified twenty-five features of resi-

 dential proxy products—none of which relate to the asserted patents. Ex. 19-B at Exhibit 12. Dr.

 Becker fails to apportion the value of any of these features out of his reasonable-royalty calcula-

 tion.

         Additionally, Dr. Becker attributes “value” to certain features that Luminati admits are

 not enabled by the asserted patents. For example, Dr. Becker opines that residential proxies pro-

 vide a superior “level of anonymity” as compared to data center proxies, and that is one reason

 why customers choose residential proxies over data center proxies. Ex. 3 at 65:3-66:8. But Dr.

 Rhyne (Luminati’s technical expert) admits that “anonymity” is not a feature or claim element of

 any asserted claim in this case. Ex. 17 at 50:13-17. Dr. Becker similarly opines that residential

 proxies allow for a larger sized network as compared to data center proxies, and that a larger

 network is attractive to customers. Ex. 3 at 70:7-10, 72:12-73:4. But Dr. Becker does not analyze

 the value between, for example, having 72 million nodes in a residential proxy network versus

 35 million nodes. Ex. 3 at 39:2-9. And, in any event, Dr. Rhyne, at deposition, admitted that the

 number of client devices (i.e., the number of nodes in a residential network) is not a claim ele-

 ment or limitation of the asserted claims. Ex. 17 at 54:6-18. By relying on the full amount of

 profit between residential and data center proxies to form the basis of his royalty, Dr. Becker

 failed to account for, and apportion out, the superior “level of anonymity” and “network size”



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 which are admittedly not covered by the asserted patents. See Ericsson, Inc., 773 F.3d at 1226.

         Third, Dr. Becker’s choice of data center proxies as the “closest non-infringing alterna-

 tive”19—the basis for his only purported apportionment step—does not go nearly far enough to

 apportion his “reasonable” royalty to only the value added by the allegedly patented features. To

 begin with, there is no testimony or evidence that data center proxies are the “closest non-

 infringing alternative” such that the alleged incremental value between data center proxies and

 residential proxies is coextensive with the “value” of the asserted patents. Dr. Becker relied on

 Luminati’s technical expert, Dr. Rhyne, for his understanding as to how and to what extent the

 patents-in-suit relate to data center proxy networks. Ex. 3 at 33:7-11. But Dr. Rhyne offered no

 opinion on whether data center proxies infringe the asserted patents, or what portion of the pur-

 ported difference between data center proxies and residential proxies is allegedly attributable to

 the asserted patents. Ex. 17 at 43:5-44:5. Instead, Dr. Becker simply assumes that 100% of the

 difference in profits between Luminati’s data center proxy product and Luminati’s residential

 proxy product is attributable to the patents-in-suit. Ex. 3 at 107:14-108:2.

         Dr. Becker also does not explain why data center proxies are a closer non-infringing al-

 ternative than “static” residential proxies (another admitted non-infringing alternative).
                                                                                              -
                       Compare Ex. 1 at ¶ 145 with Ex. 18 at LUMTES-0124541 & Ex. 23 at 4.



    19
         Dr. Becker opines that “[s]ince a proxy service that uses the data center IPPN is the clos-
 est non-infringing alternative, comparison of the price of searches conducted through Luminati’s
 patented residential IPPN to the price of the data center IPPN provides a means to isolate the
 value added by the Patents-in-Suit from the value of proxy servers in general and the value of
 using a form of proxy network that was in the prior art (namely the data center IPPN).” Ex. 1 at ¶
 159.


                                                  19
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                                                                  20
                                                                       Ex. 18 at LUMTES-0124542. Accord-

 ingly, Dr. Becker's opinion is unreliable for failing to analyze the "static" residential proxy alter-

 native.

                  2.     Dr. Becker Impennissibly Injects Luminati Into The Bargaining Room

           A hypothetical negotiation is "between the patentee and infringer . . . at the time in-

 fringement began." Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572, 1579 (Fed. Cir. 1996). Dr. Beck-

 er conectly acknowledges that the hypothetical negotiation would have taken place




                                                       "
                                                           22
                                                                Id. at ,r 27. But Dr. Becker's admissions are

 lip-service only-his analysis quickly pivots, stating that because "at the time of the hypothetical

 negotiation,




    20
         Dr. Becker presumably ignored the "static" residential proxy product when conducting
 his analysis because Luminati charges the same (or similar rices er GB for "static" residential
  roxies as for residential roxies. Ex. 39· see also




                                                  20
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 -              The result of this sleight of hand is enonnous, as it skews Dr. Becker's Georgia-

 Pacific analysis beyond repair.




                                                                  Id. at,I 186; Ex. 3 at 115:6-11 6:19.

 Where, as here, a damages expe1i's opinion is based on the wrong paiiy being at the hypothetical

 negotiation, it is not reliable. 25

                  3.      Dr. Becker "Reasonable" Royalty Is Unreliable On Its Face

          Dr. Becker concludes that, at the hypothetical negotiation,

                                                                                   . Ex. 2 at SLB-l C.




     25  See, e.g ., Syneron Med. Ltd. v. Invasix, Inc., 16-CV-00143, 2018 WL 4696969, at *9-10
 (C.D. Cal. Aug. 27, 2018) ("Mr. Weinstein's failure to include the proper paiiy in the hypothet-
 ical negotiation drastically inflates the resulting reasonable royalty .. . . [and] renders his damag-
 es analysis unreliable."); Oracle Am., Inc. v. Google Inc., 798 F. Supp. 2d 1111, 1117 (N.D. Cal.
 2011) ("At the time the alleged infringement began, Sun was the patentee, not Oracle. Dr. Cock-
 burn ened in hypothesizing a negotiation between Google and Oracle, instead of one between
 Google and Sun. Oracle and Sun were different companies with different interests. Injecting Or-
 acle into the bai·gaining room was wrong.").


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                              Id. at SLB-6.



                                                  Ex. 3 at 117:3-16.




            Finally, Dr. Becker 's reasonable royalty "negotiation" is not a negotiation at all. -




                                                                             27


 VI.        CONCLUSION

            For these reasons, the Court should sti·ike Dr. Becker's lost-profits and reasonable-royalty

 op1mons.




 318 F. Supp. 1116, 1120 (S.D.N .Y. 1970) (emphasis added) .
       27
         See, e.g., Uniloc USA, Inc. v. Microsoft Corp. , 632 F.3d 1292, 1315 (Fed. Cir. 2011) (im-
 permissible for damages expe1t to rely on 25% "mle of thumb"); Virnetx, Inc. v. Cisco Sys., Inc.,
 767 F.3d 1308, 1332-34 (Fed. Cir. 201 4) (impennissible for damages expe1t to rely on Nash
 Bargaining's 50/50 profit split of value of asserted patent as stait ing point for hypothetical nego-
 tiation); Exmark Mfg. Co. Inc. v. Briggs & Stratton Power Products Group, LLC, 879 F.3d 1332,
 1351 (Fed. Cir. 2018) (improper for damages expe1t to "address[] the Georgia-Pacific factors in
 light of the facts and then pluck[] [a] 5% royalty rate out of nowhere").


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 Dated: January 25, 2021             Respectfully submitted,



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                             CERTIFICATE OF CONFERENCE

         The undersigned certifies that, on January 25, 2021, he met and conferred with counsel
 for Luminati, Robert Harkins, Esq. by telephone, and that Luminati has advised that it is opposed
 to the request for relief in the foregoing motion.



                                             STEVEN CALLAHAN


                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in compli-
 ance with Local Rule CV-5(a) on January 25, 2021. As such, this document was served on all
 counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). The
 foregoing document has also been served on Luminati’s counsel, Sunny Cherian, Esq., by e-mail
 on January 25, 2021.



                                              -A-tCL~
                                             STEVEN CALLAHAN


                     CERTIFICATE OF AUTHORIZATION TO SEAL

        The undersigned certifies that the foregoing pleading is filed under seal pursuant to the
 Court’s Protective Order.



                                              -A-tCL~
                                             STEVEN CALLAHAN




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